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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                   Case No.: 18-24190-CIV-SMITH

   WILLIAM O. FULLER, and
   MARTIN PINILLA, II,

          Plaintiffs,

   v.

   JOE CAROLLO,

          Defendant.
                                                        /

       DEFENDANT, JOE CAROLLO’S NOTICE OF FILING (I) TRANSCRIPT OF THE
   EVIDENTIARY HEARING ON MAY 17, 2024 ON PLAINTIFFS’ OBJECTION (DE 658) TO
  DEFENDANT’S CLAIM OF HOMESTEAD EXEMPTION AND REQUEST FOR HEARING (DE
     518), AND (II) DEEFENDANT’S EXHIBITS INTRODUCED INTO EVIDENCE AT THE
                              EVIDENTIARY HEARING

         Defendant, Joe Carollo, by and through his counsel, hereby files (I) the Transcript of the

  May 17, 2024 Evidentiary Hearing, and (II) Defendant’s Exhibits Introduced Into Evidence at the

  Evidentiary Hearing on May 17, 2024 on Plaintiffs’ Objection (DE 658) to Defendant’s Claim of

  Homestead Exemption and Request for Hearing (DE 518), and the attached redacted Exhibits

  described as follows:

   Exhibit No.     Description

   Def. Ex. 3      4/2/2023 Joe Carollo Florida Driver License with the Homestead Property
                   address
   Def. Ex. 5      4/5/2023 Joe Carollo Miami-Dade County Voter Registration Card with the
                   Homestead Property address
   Def. Ex. 7      2022 Tax Return of Joe Carollo and Marjorie Carollo with the Homestead
                   Property address (JC-DIAOE000744-751)
   Def. Ex. 8      2023 Tax Return of Joe Carollo and Marjorie Carollo with W-2 of Joe Carollo
                   from the City of Miami with the Homestead Property address (JC-
                   DIAOE000752-760)


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                                     CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 17th day of June, 2024, I electronically filed the foregoing

  with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being

  served this day on all counsel of record in this case.

                                                           Respectfully submitted,
                                                           KRINZMAN HUSS LUBETSKY
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